     Case 3:15-cr-01930-CAB    Document 32      Filed 08/04/15    PageID.85      Page 1 of 1


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                                                                         I AUG - 4 )015 I
 2                                                                      CLERK. J ~. D ST~iCT COURT
                                                                    SOLJTME NDI'TRiC7 OF CALIFORNIA
                                                                    BY                         DEPUTY
 3
                                   UNITBD STATES DISTRICT COURT
 4
                              SOUTHBRN DISTRICT or CALIrORNIA
 5                                                       Case No.: 15cr1930-CAB
      UNITED STATES OF AMERICA,
 6
                               Plaintiff,
 7
                                                         ORDBR AND JUDGMENT TO
              v.
                                                         DISMISS WiTHOUT PREJUDICB
 8
      FLORA PATRICIA SOLA (2) ,
 9

10
                               Defendant.
11
12   ~   ________________________________       ~




13
              Upon   motion   of    the    United   States   of   America       and     good      cause
14
      appearing,
15
              IT IS HEREBY ORDERED that the Indictment in the above-entitled
16
      case be dismissed without prejudice as                 to defendant        Flora       Patricia
17
      Sola.
18
              IT IS SO ORDERED.
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      DATED: August                 2015
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                                                    HONORABLE CATHY A. BENCIVENGO
23                                                  United States District Judge

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